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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                         :   [PROPOSED]
IN RE 650 FIFTH AVENUE AND RELATED                                       :
PROPERTIES                                                               :   PROTECTIVE ORDER
                                                                         :
                                                                         :   08 Civ. 10934 (LAP)
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -X

                    WHEREAS, the plaintiff, the United States of America, filed an ex parte

application for a restraining order, dated February 28, 2020, with respect to the income generated

from a building located at 650 Fifth Avenue (the “Building”) (the “Application”) (Dkt. Entry

Nos. 2200 & 2201);

                    WHEREAS, the Court ordered that a briefing schedule be set for claimants, 650

Fifth Avenue Company (the “Partnership”) and the Alavi Foundation of New York (“Alavi” and,

together, “Claimants”), to respond to the Application (Dkt. Entry No. 2196); Claimants filed a

response dated March 13, 2020 (Dkt. Entry No. 2205 & 2206); the United States filed a reply

dated March 19, 2020 (Dkt. Entry Nos. 2214 & 2215); Claimants filed a supplemental response

dated September 9, 2020 (Dkt. Entry No. 2317); and the United States filed a supplemental reply

dated September 17, 2020 (Dkt. Entry No. 2319);

                    WHEREAS, the Court of Appeals for the Second Circuit issued an order dated

October 7, 2020, directing, inter alia, that this Court may proceed with a probable-cause hearing

on the Application, at which Claimants shall be given a meaningful opportunity to be heard, and

that the restraints on the rental income of the Building imposed by a protective order entered on

December 12, 2019 (Dkt. Entry No. 2162) shall remain in place pending this Court’s probable

cause determination (Dkt. Entry No. 2327);

                    WHEREAS, on October 13, 2020, a hearing was held on the Application;
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               WHEREAS, based upon the proceedings had herein, and as set forth on the record

at the hearing on October 13, 2020, the Court finds probable cause to seize or restrain the

Building, the Partnership, and the income generated by the Building pursuant to 18 U.S.C.

§ 985(d)(1)(B)(i), as properties that constitute or are derived from proceeds traceable to

violations of the International Emergency Economic Powers Act, 50 U.S.C. § 1705, and the

Iranian Transactions and Sanctions Regulations, 31 C.F.R. Part 560; and as properties involved

in money laundering in violation of 18 U.S.C. §§ 1956 and 1957, or property traceable to such

properties;

               NOW, THEREFORE, upon the application of Audrey Strauss, Acting United

States Attorney, Southern District of New York, Michael D. Lockard, Martin S. Bell, Daniel M.

Tracer, and Samuel L. Raymond, Assistant United States Attorneys, of counsel, IT IS HEREBY

ORDERED THAT:

               1.      The provisions of the Monitorship, Building Management, and Protective

Order dated March 30, 2020 (Dkt. Entry No. 2225) shall remain in force and effect, except for

Paragraphs 4 and 11, which are hereby superseded as set forth herein, and to the extent not

inconsistent with the terms of this Order.

               2.      The Partnership shall make payments or disbursements only for purposes

of operating, maintaining, and preserving the Building and preserving its value. Such payments

may include, but are not limited to, payroll, taxes, distributions to tenants of the Building, broker

commissions, capital expenses and improvements.

               3.      The Partnership shall not make distributions or disbursements to Alavi.

               4.      The Partnership shall not make distributions or disbursements to Assa

Corp. The Monitor and Interim Trustee shall transfer all income or other disbursements due

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from the Partnership to the partnership interest formerly held by Assa Corp. (“Assa Funds”) to

the Seized Assets Deposit Fund, maintained by the United States Marshals Service (“USMS”),

pending further order of this Court. At least two (2) business days prior to making a payment of

Assa Funds to the USMS, the Monitor and Interim Trustee shall notify Assistant United States

Attorney Alexander J. Wilson, United States Attorney’s Office, Southern District of New York,

One St. Andrew’s Plaza, New York, New York 10007.

               5.      The Monitor and Interim Trustee is authorized and empowered to

authorize necessary disbursements for the maintenance and upkeep of the Defendant Properties

other than the Building or for necessary safety repairs, including, if necessary, disbursements

from income from the Building. Such disbursements shall be treated as partnership distributions

to the Alavi partnership interest.


SO ORDERED:


_                                                            October 21, 2020
HONORABLE LORETTA A. PRESKA                                  DATE
UNITED STATES DISTRICT JUDGE




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